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AO 106(Rev.04/10) Application for a Search Warrant



                                      United States District Cou]W t
                                                                     for the                         [                                   i !
                                                                                                                        4 201B
                                                         Eastern District of Virginia                 u
                                                                                                           GL£:-
              In the Matter ofthe Search of                                                                   AL
                                                                       )
         (Briefly describe the property to be searched
          or identify the person by name and address)                             Case No. 1:18-SW-753
              1907 WINTERTHUR LANE #PH3
                      RESTON.VA 20191                                                        UNDER SEAL




                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government,request a search warrant and state under
penalty of pequry that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A (Property to be Searched)

located in the              Eastern               District of              Virginia               there is now concealed (identify the
person or describe the property to be seized)'.

 See Attachment B (Property to be Seized)

          The basis for the search imder Fed. R. Grim. P. 41(c)is (check one or more):
                sT evidence ofa crime;
                isf contraband,fruits ofcrime, or other items illegally possessed;
                sTproperty designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

             Code Section                                                         Offense Description
        21 U.S.C.§ 841(a)(1)                       Possession with intent to distribute and distribution of controlled substances
        21 U.S.C. § 846                            Conspiracy to commit such offenses
        18 U.S.C.§ 924(c)(1)(A)                    Possession of a firearm during and in relation to a drug trafficking
          The application is based on these facts:
        See attached affidavit.



           sf Continued on the attached sheet.
           □ Delayed notice of     _ days (give exact ending date if more than 30 days: _                               ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                               Applicant's signature
AUSA Jonathan L. Fahey /SAUSA Brianna Edgar
                                                                                        Christopher M. Ray, Special Agent, FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.

                                                                                         sa Carroll Buchanan
Date:
                                                                                      fe d States Magistrato Judgo
                                                                                                 Judge's signature

City and state: Alexandria, Virginia                                        Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                               Printed name and title
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                        ATTACHMENT A('^TARGET LOCATION''^


                                    Property to be Searched

                11907 Winterthur Lane,Apartment #PH3,Reston, VA 20191


11907 Winterthur Lane, Apartment #PH3 in Reston, Virginia is described as a multi-family, red
brick, multi-story apartment building. The apartment building has a clear glass main exterior entry
door with the numbers "11907" in white labeled above the door. Apartment #PH3 is on the top
level(Penthouse), has a tm metal door with silver hardware and a silver knocker in the middle of
the door with"PH3"engraved on the knocker.
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                                       ATTACHMENTS

                                        Property to be Seized,

         The items to be seized are fruits, evidence, information, contraband, or instrumentalities,
 in whatever form and however stored, relating to violations of: possession with intent to distribute
and distribution of controlled substances, in violationi of 21 U.S.C. § 841(a)(1), conspiracy to
commit such offense, in violation of21 U.S.C. § 846, and possession of a fireaim during ^d in
relation to a drug trafficking offense in violation of 18 U.S.C. § 924(c)(1)(A)(collectively, the
"TARGET OFFENSES"), as described in the search warrant affidavit, including, but not limited
 to:


        1.    Drugs and drug paraphernalia, and items used in the sale, transfer, transportation,
 packaging ofillegal narcotics substances, and also including scales, butcher paper, boots, plastic
 wrap,plastic bags,tape, cigarette papers, pipes, hypodermic needles and syringes, written articles
 on the use and effects ofnarcotics, diluents and cutting agents, which is evidence ofthe TARGET
 OFFENSES.


        2.      Items used in the manufacture or cooking of heroin and cocaine, including
precursor chemicals, chemistry guides, glassware and flasks, which is evidence ofthe TARGET
OFFENSES.


       3.      Weapons,including but not limited to revolvers, semi-automatic pistols, rifles and
ammunition, ammunition, magazines, bulletproof vests, and firearms-related paraphernalia
including, but not limited to, gun-cleaning kits, gun-si^ts, holsters, receipts and documentation
for the purchased of same, and related firearm paraphernalia, which constitute tools for the
commission ofthe TARGET OFFENSES.


       4.      Documents related to or memorializing the ordering, purchasing, storage,
transportation and sale ofcontrolled substances,including U.S. currency used in the purchase and
sale of controlled substances, buyer lists, seller lists, pay-owe sheets and records of sales, log
books, drug ledgers; personal telephone/address books of customers and suppliers, rolodexes,
telephone answering pads, bank and financial records, records relating to domestic and foreign
travel such as tickets, passports, visas, credit card receipts, travel schedules,receipts and record,
trucker log books and storage records,such as storage locker receipts and safety deposit box rental
records, which is evidence ofthe TARGET OFFENSES,proceeds ofthe TARGET OFFENSES,
and contain evidence ofthe TARGET OFFENSES.


       5.     Books, records, receipts, notes and other papers relating to the transportation,
ordering, purchase, and distribution of controlled substances and the transportation, ordering,
purchase and transfer offirearms and ammunition,which is evidence ofthe TARGET OFFENSES.

       6.      Address and/or telephone books and papers reflecting names, addresses and/or
telephone numbers, which constitute evidence of customers, distributors, conspirators, and
potential witnesses ofviolations ofthe TARGET OFFENSES.
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       7.      Books, records, receipts, bank statements, money drafts, letters of credit, money
orders and cashier's checks, passbooks, bank checks, safe deposit box keys, and any other items
evidencing the obtaining, secreting, transfer, concealment, storage and/or expenditure of money,
which constitute records and proceeds ofthe TARGET OFFENSES.

       8.     United States currency, precious metals,jewelry and financial instruments, stocks
and bonds, which constitute proceeds ofthe TARGET OFFENSES.

       9.      Photographs, in particular photographs of coconspirators, assets, firearms, and
controlled substances, which constitute evidence ofthe TARGET OFFENSES.

        10.     Cellular telephones, cameras, computers, laptops, iPads, DVDs, hard drives, and
electronic store devices, and receipts reflecting their ownership and use, which contain records of
the commission ofthe TARGET OFFENSES.

       11.    Safes, both combination and key type, and their contents, which can contain
evidence ofthe commission ofthe TARGET OFFENSES or proceeds from the commission ofthe
TARGET OFFENSES; and

       12.- Indicia of ownership, including, receipts, invoices, bills, canceled envelopes and
keys, which provides evidence ofidentity as to individuals committing the TARGET OFFENSES.
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                        IN THE UNITED STATES DISTRICT COURl
                        FOR THE EASTERN DISTRICT OF VIRGINI^
                                       Alexandria Division


IN THE MATTER OF THE SEARCH OF: )                    UNDER SEAL
                                )
11907 WINTERTHUR LANE #PH3      )
RESTON,VA 20191                 )                    Case Number: l:18-SW-753


        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT


        Your affiant, Christopher M. Ray, Special Agent with the Federal Bureau ofInvestigation

(hereinafter "FBI"), Washington Field Office(hereinafter"WFO"),Washington,D.C.(hereinafter

"affiant"), being duly sworn, deposes, and states as follows:

I.      AFFIANT BACKGROUND,EXPERIENCE,AND KNOWLEDGE

        1.     I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States

who is empowered by law to conduct investigations and to make arrests for offenses enumerated

inl8U.S.C. §2516.

        2.     I have been a Special Agent with the FBI since March 2008. Since October 2008,1

have been assigned to the FBI's Washington Field Office Safe Streets Task Force, which conducts

investigations relating to, among other things, firearms offenses, violent crimes, and narcotics

violations. I have prior law enforcement experience as a Public Safety Officer and Detective with

the Highland Park Department of Public Safety, Highland Park, Texas,from June 2000 to March

2008. Since 2008, I have received training and experience in interviewing and interrogation

techniques, arrest procedures, search and seizure, search warrant,applications, and narcotics,

white-collar crimes, and various other crimes. In the course of my training and experience, I have

become familiar with the methods and techniques associated with the distribution ofnarcotics, the
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laundering ofdrug proceeds,and the organization ofdrug conspiracies. In the course ofconducting

these investigations, I have been involved in the use of the following investigative techniques:

interviewing informants and cooperating witnesses; conducting physical surveillance; supporting

undercover operations; consensual monitoring and recording of both telephonic and non-

telephonic commimications; analyzing telephone pen registers and caller identification system

data; conducting court-authorized electronic surveillance; and preparing and executing search

warrants that have led to substantial seizures of narcotics, firearms, and other contraband.

       3.      Through instruction and participation in investigations,I have become familiar with

the manner in which narcotics traffickers conduct their illegal business and the methods,language,

and terms that traffickers use to disguise conversations about their narcotics activities. From my

training and experience, I have learned, among other things, that narcotics traffickers frequently

use cellular telephones to further their illegal activities in the belief that, by so doing, they can

avoid detection and thwart the efforts of law enforcement. Cellular telephones also enable

coconspirators to remain in constant or ready communication with one another without restricting

either party to a particular geographic location, thus hampering surveillance by law enforcement

authorities. Furthermore, narcotics traffickers usually do not expressly refer to cocaine,

phencyclidine(POP),or other controlled substances by name,and when they do so,it is most often

by mistake. Instead,they routinely refer to drugs and drug quantities — and also quantities ofcash

— by using code words and/or seemingly innocuous words or phrases in an effort to conceal the

true nature oftheir illegal activities and thwart detection by law enforcement. Narcotics traffickers

also frequently have access to several cellular telephones and telephone numbers, and they

periodically use newly acquired cellular telephones and telephone numbers, or frequently change

cellular telephones and telephone numbers, to avoid detection while attempting to thwart
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apprehension by law enforcement. In order to avoid law enforcement detection, these cellular

telephones are often prepaid cellular telephones that are often not registered or subscribed in the

purchaser's or primary user's name and are instead often registered in a false name and/or to a

false address.

       4.        Based on my knowledge, training, experience and participation in numerous other

investigations involving cocaine base, powder cocaine, heroin, marijuana, and other controlled

dangerous substances, I also know that:

                 (a)    Narcotics traffickers keep narcotics, narcotics-related items and

paraphernalia, money,firearms,and firearm-related items in their residences,and/or their vehicles,

and/or stash/storage locations, such as other apartments, garages, sheds and storage lockers. In

addition,in a conspiracy involving the distribution and possession with intent to distribute cocaine

base,powder cocaine,heroin,or marijuana,these locations may also contain apparently innocuous

materials that are used for specific purposes in the drug trade. For example,small and large plastic

baggies are the packaging material of choice for many narcotics; scales are often used to ensure

the quantities are commensurate with price, as well as to determine as accurately as possible the

varying amoxmts ofthe drugs being sold; microwave ovens, pots, dishes, false bottom containers

and other containers,cooking utensils, and cutting agents are often used to "cook"powder cocaine

into cocaine base, or to mix and dilute heroin, and transport it discreetly thereafter.

              (b)       It is also common for narcotics traffickers to distribute Ifom specific

locations other than their own residences, to include stash houses, the residences of family

members and associates, both witting and unwitting, and other locations where trusted associates

of the trafficker are allowed access, in order to protect the cache of drugs, as well as the drug

proceeds. Such locations provide security for the trafficker, and it is a known location where
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customers go to obtain drugs.

              (c)      Drug traffickers often use and retain firearms and other weapons to protect

themselves,as well as to secure their cache ofnarcotics. Individuals who possess and store firearms

in their residences, vehicles and/or stash locations, or in the residences oftrusted associates, often

also store ammunition, shell casings, slugs, targets, holsters, gun cleaning kits, and ownership

papers.


              (d)      Narcotics traffickers may also keep records of their trafficking activities to

ensure they receive payment for the narcotics their customers purchase. These records may be in

written or electronic form. Narcotics traffickers also often maintain books,records,receipts, notes,

ledgers, money orders, bank records, money, safety deposit boxes and keys, numerous business

cards, photographs, address and telephone number books and papers, and other documentation

relating to the transportation, ordering, sale and distribution of controlled substances, and contact

information for associates and coconspirators in the narcotics trade. This documentary evidence

may include credit card and hotel receipts, plane and bus tickets and receipts, car rental receipts,

accounts and records in fictitious names, false identification, money orders, cashier's checks

relating to cash transactions and records indicating the existence of storage facilities used in

narcotics trafficking. These items are generally maintained and retained for long periods of time

in the drug traffickers' residences or the residences ofa relative or associate where the drug dealer

can quickly and easily access them and/or in the places of operation of the drug distribution

activity, such as a stash house or safe house, or in a business location with which the trafficker is

associated. It also is common to maintain and store the aforementioned evidence of narcotics

trafficking crimes on electronic storage devices, including computers, mobile or cellular

telephones, personal digital assistants (PDAs), handheld computers, MP3 players, digital hard
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drives, including, but not limited to, iPods and external storage drives; and the media to store

information, including diskettes, tapes or data storage devices.

              (e)   Individuals involved in narcotics trafficking often conceal within their

residences,the residences offamily members,fnends and associates,the places ofoperation ofthe

drug distribution activity such as stash houses or safe houses, or in business locations with which

the traffickers are associated, large amounts of currency, financial instruments, precious metals,

jewelry and other items of value, and/or proceeds of financial transactions relating to obtaining,

transferring, secreting or spending large sums of money made from engaging in narcotics

trafficking within their residences,offices and businesses, garages, storage buildings, automobiles,

and safety deposit boxes. Additionally, it is a common practice for drug dealers to utilize safes

within their residences, or the residence of a confidante, relative or associate, in an effort to

safeguard, and more importantly conceal, such proceeds oftheir drug trafficking.

              (f) Individuals involved in narcotics trafficking often use narcotics trafficking

proceeds to further their enterprise, including laundering such money into legitimate purchases,

such as homes, vehicles, etc.

II.      REQUESTED SEARCH WARRANTS                        ■

         5.    As part of my current assignment, I and others have been investigating OMAR

ELBAKKOUSH,who has been distributing firearms and narcotics in the District ofColumbia,the

District of Maryland, and the Eastern District of Virginia.

         6.    I submit, pursuant to the facts set forth in this Affidavit,that there is probable cause

to believe that evidence, fruits, or instrumentalities of violations of possession with intent to

distribute and distribution of controlled substances, in violation of 21 U.S.C. § 841(a)(1);

conspiracy to commit such offenses, in violation of 21 U.S.C. § 846; and possession of a firearm
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during and in relation to a drug trafficking offense in violation of 18 U.S.C. § 924(c)(1)(A), will

be found at the TARGET LOCATION, as set forth more fully in the Attachments A and B,

incorporated herein by reference. The TARGET LOCATION is 11907 Winterthur Lane,

Apartment #PH3,Reston, VA 20191.

                                  Background of Investigation


       7.        In July of2018, agents associated with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives("ATF"),the Federal Bureau ofInvestigation("FBI"),and the Metropolitan Police

Department ("MPD") began investigating ELBAKKOUSH for possible criminal offenses

involving the illegal sale of firearms and narcotics. In addition to using court-authorized GPS-

tracking search warrants, court-authorized vehicle tracking devices, pen registers, and other

investigatory techniques,the agents also utilized an undercover special agent("UC")to further the

investigation.

                        UC Controlled Purchases with ELBAKKOUSH


       8.        On August 6, 2018, a UC with the ATF engaged in a controlled purchase with

ELBAKKOUSH. Specifically, the UC—^who had been previously introduced to ELBAKKOUSH

weeks before—^told ELBAKKOUSH that he was interested in purchasing marijuana and firearms

from ELBAKKOUSH. The UC communicated with ELBAKKOUSH via text message.

ELBAKKOUSH indicated that he could provide the UC with a firearm with a magazine, an

extended magazine, and an attached silencer, in exchange for $1,400. Additionally,

ELBAKKOUSH offered to provide the UC with different flavors of "gas," a.k.a. marijuana, in

exchange for $1,600 to $1,800. After several text message conversations regarding the type of

firearm being sold as well as the prices for the different guns and parts, the two finally agreed to

meet on August 6,2018. On that date, after additional negotiation over the prices, the two met. At
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the request of ELBAKKOUSH, the UC traveled to the Home Depot parking lot located at 901

Rhode Island Avenue,Northeast, Washington, D.C. At approximately 6:58 p.m.,ELBAKKOUSH

arrived in the parking lot and entered the UC's unmarked vehicle. ELBAKKOUSH, who had a

backpack on his person, placed the backpack on the front passenger floorboard in front ofhis feet,

and pulled out: one clear vacuum sealed plastic bag containing half a kilogram of green plant-like

substance (which ELBAKKOUSH identified as lemon tree flavored marijuana), one unloaded

Mack 119 mm handgun, one extended magazine, and one regular magazine. ELBAKKOUSH

explained that his firearms source forgot to provide him the silencer previously discussed and that

ELBAKKOUSH would bring the silencer to the next firearms transaction that he conducted with

the UC. In exchange for the marijuana, the firearm, and its accessories, the UC gave

ELBAKKOUSH a total of$3,000 U.S. Currency. ELBAKKOUSH exited the vehicle and left the

area on foot.


       9.       Approximately two weeks later, on August 20, 2018, the same UC conducted

another controlled purchase with ELBAKKOUSH,at the same location. After the August 6,2018

buy,ELBAKKOUSH and the UC continued conversing via text message about the future purchase

of additional narcotics and firearms. ELBAKKOUSH texted the UC several photographs of

firearms he was looking to sell, including a fully automatic pistol. ELBAKKOUSH explained that

he was not sure how long his gun supplier would hold onto the firearms before ELBAKKOUSH

had to sell them,so ELBAKKOUSH would keep the UC updated as to when they could meet and

conduct another transaction. In the lead-up to August 20,2018,ELBAKKOUSH and the UC texted

each other and negotiated over the type of firearms, the price of firearms, the price of marijuana,

and the logistics of any future transaction. After much discussion, the two agreed to meet on

August 20, 2018. On that date, at approximately 7 p.m., the UC drove to the parking lot at 901
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Rhode Island Avenue Northeast and parked. ELBAKKOUSH entered the UC's vehicle, this time

holding a big black duffle bag. Once inside ofthe vehicle, ELBAKKOUSH pulled out: one pound

of"Pineapple" marijuana, one pound of"Venom OG"marijuana, one plastic shopping bag full of

various ammunition, one silencer, one Sig Sauer pistol with an extended magazine, a Draco AK-

47 pistol with a magazine,and one AR-15 rifle with multiple magazines. In exchange,the UC gave

ELBAKKOUSH $7,600 in U.S. currency.

        10.    Over the next few months, the UC continued conversing with ELBAKKOUSH.

This time, however, the conversation shifted from the purchase of marijuana and firearms to the

purchase of heroin and firearms. Specifically, the UC inquired about purchasing 125 grams of

heroin from ELBAKKOUSH.ELBAKKOUSH explained that his heroin supplier had completely

pure heroin,so much so that the fumes associated with the heroin would cause individuals to vomit.

ELBAKKOUSH encouraged the UC to use cutting agents to dilute the good-quality heroin, in

order to make a future profit.

       11.     On November 1, 2018, ELBAKKOUSH and the UC met in order to conduct a

transaction. After some initial phone and text conversations,the two agreed to meet at the Wendy's

parking lot, located at 4250 Nannie Helen Burroughs Avenue Northeast, Washington, D.C. At

approximately 2:58 p.m.,the UC arrived at the parking lot,and observed ELBAKKOUSH standing

next to a silver Nissan 4-door sedan. ELBAKKOUSH entered the UC's vehicle. ELBAKKOUSH

explained that he was waiting for the heroin to arrive within five minutes from his supplier, but

that he had the firearm they had discussed inside of his vehicle. ELBAKKOUSH retrieved the

firearm, returned to the UC's vehicle, and gave the firearm to the UC in exchange for $700 in pre

recorded funds. The UC continued to wait for the heroin, but because it was taking too long, the
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UC told ELBAKKOUSH that he would leave. At approximately 3:30 p.m.,the UC left the parking

lot without the heroin.


        12.    Minutes later, ELBAKKOUSH called the UC back. ELBAKKOUSH explained

that his heroin supplier had finally delivered the heroin to him,and he apologized for the long wait.

The UC returned back to the parking lot at 4:31 p.m., and ELBAKKOUSH provided the UC with

approximately 131 grams ofheroin in exchange for $10,800 in pre-recorded fimds. The heroin was

later field tested and came back positive for the presence of opiates.

       13.     On November 29,2018,ELBAKKOUSH and the UC met again in order to conduct

another transaction, similar to the November 1,2018 transaction. After some initial phone and text

conversations, the two agreed to meet at the parking lot located at 1535 Alabama Avenue

Southeast, Washington, D.C. 20032. At approximately 2:55 p.m., ELBAKKOUSH exited a black

Mercedes sedan and retrieved a small black duffle bag from the trunk of the Mercedes.

ELBAKKOUSH then walked to the UC's vehicle and sat down in the front passenger seat.

ELBAKKOUSH immediately insisted that the UC move his vehicle to another location in the

parking lot, because he had concerns that law enforcement was present in the area.

ELBAKKOUSH nevertheless provided the UC a clear plastic baggie filled with large chunks of

suspected heroin, as well as two revolvers and one Glock pistol. In exchange, the UC gave

ELBAKKOUSH $10,300 in pre-recorded funds. The heroin was later field tested and came back

positive for the presence ofopiates. It weighed approximately 129 grams.

        14.    The following day, November 30, 2018, ELBAKKOUSH and the UC spoke over

the telephone. ELBAKKOUSH explained that he was suspicious yesterday because ofthe presence

of law enforcement in the parking lot where they had conducted the transaction and no longer

wanted to use that parking lot for transactions. ELBAKKOUSH explained that if he were to get in
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trouble with law enforcement, he vowed to remain silent and would let his lawyer do the talking

for him. ELBAKKOUSH indicated that his supplier remained interested in conducting future

transactions.


       15.      To summarize, between August 6,2018 and November 29,2018,ELBAKKOUSH

personally sold eight firearms, approximately 1.5 kilograms of marijuana, approximately 260

grams of heroin, several firearms magazines, and other firearms accessories, to an undercover

federal agent. All ofthe transactions were either audio or video-recorded and surveilled by other

federal agents. All of the funds provided to ELBAKKOUSH were pre-recorded cashier funds.

Moreover, all of the text messages exchanged between the two—^using a cell phone app that

intentionally deletes messages after a period of time—^were, if available, photographed. The

Defendant was previously convicted of Felony Distribution of Marijuana (one-half ounce to five

pounds)in Fairfax County, Virginia on May 31,2016, which is a crime that carries with it possible

imprisonment of more than one year.

                           Identification of TARGET LOCATION


       16.      Prior to the UC controlled purchase on November 29, 2018, ELBAKKOUSH told

the UC that he was in the process of moving to a new apartment. Using court-authorized geo-

location data ("GPS pings"), law enforcement was able to identify the proximity of

ELBAKKOUSH's ne\s( residence at the TARGET LOCATION. Starting on December 1, 2018,

GPS pings showed that ELBAKKOUSH was routinely "pinging" in the vicinity ofthe Winterthur

Apartments in Reston, VA,which law enforcement believed to be the new apartment he previously

told the UC he was moving into. On December 6,2018,in an attempt to identify ELBAKKOUSH's

new residence, law enforcement conducted surveillance at the Winterthur Apartments. On that

day, surveillance units observed a white 1998 Toyota Camry bearing Virginia license plate



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VYZ7209, a known vehicle used by ELBAKKOUSH, parked in front of the TARGET

LOCATION.^

        17.    On the same day, law enforcement issued an Administrative Subpoena to the

Winterthur Apartments Leasing Office, requesting a list of the tenants and their respective

addresses at the apartment complex. Subsequently,agents were provided the requested information

and were able to confirm that ELBAKKOUSH signed a one-year lease for the TARGET

LOCATION that began on December 1,2018. From December 1,2018 to present, GPS pings have

shown that ELBAKKOUSH is routinely stajdng at the TARGET LOCATION and I believe that

the TARGET LOCATION is ELBAKKOUSH's new permanent residence.

       18.     ELBAKKOUSH's rental application for the TARGET LOCATION lists him as

"self-employed" with an annual salary of$24,000. The rental application also lists the girlfriend

of ELBAKKOUSH as a lessee and shows her annual income as $35,000. Coincidentally,

ELBAKKOUSH also lists additional income of $1,200 per week (or $4,800 a month) from a

company called JetpackDC. I know JetpackDC to be an illegal online marijuana dispensary in the

District of Columbia. According to my investigation, JetpackDC is not a licensed marijuana

dispensary,but nevertheless traffics between $80,000 to $100,000 in illegal sales every month. My

investigation led to the arrest of an individual named Amir Gibreel (18-cr-328)(RC) as the

ringleader ofJetpackDC. On October 30,2018,1 executed a search warrant on Gibreel's residence

and stash house (both located in D.C.) and found one firearm, over 80 pounds of marijuana, and

approximately $35,000 in cash.




^ This vehicle is registered to Sabah Raougui at 3242 Holly Berry Court, Falls Church, VA 22042.
Law enforcement believes that Raougui is ELBAKKOUSH's mother. Additionally,
ELBAKKOUSH was observed driving this vehicle prior to the UC controlled purchase on
November 29, 2018.

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                                         CONCLUSION


       38,     Based on the foregoing, I submit that there is probable cause to believe that

evidence and instrumentalities of the crimes described herein and as set forth more fully in

Attachment B to each warrant application, incorporated herein by reference, are contained or

secreted within the confines ofthe TARGET LOCATION,as described more fully in Attachment

A. It is also respectfully requested that this Court issue an order sealing, until execution of the

warrant, all papers submitted in support of these warrants application, including the applications

and search warrants. I believe that sealing this document is necessary because the warrants are

relevant to an ongoing investigation and public disclosure of the documents could result in the

destruction of evidence and evasion of law enforcement by the targets. Based upon my training

and experience, I have learned that criminals actively search for criminal affidavits and search

warrants via the internet, and disseminate them to other criminals as they deem appropriate.

Premature disclosure ofthe contents ofthis affidavit and related documents may have a significant

and negative impact on the continuing investigation and may severelyjeopardizejts effectiveness.


                                                     Christopher M.Ray, Special Agent
                                                     Federal Bureau ofInvestigation



Subscribed and sworn to before me
this     day of December,2018.
                              /s/
             heresa Carroll Buchanan
             nited btaiub Magiotrato-dudge
The Honorable Theresa Carroll Buchanan
United States Magistrate Judge




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                        ATTACHMENT A T^TARGET LOCATION"^


                                    Property to be Searched

                11907 Winterthur Lane,Apartment #PH3,Reston, VA 20191


11907 Winterthur Lane, Apartment #PH3 in Reston, Virginia is described as a multi-family, red
brick, multi-story apartment building. The apartment building has a clear glass main exterior entry
door with the numbers "11907" in white labeled above the door. Apartment #PH3 is on the top
level(Penthouse), has a tan metal door with silver hardware and a silver knocker in the middle of
the door with "PH3"engraved on the knocker.




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                                       ATTACHMENT B

                                        Property to be Seized

        The items to be seized are fruits, evidence, information, contraband, or instrumentalities,
in whatever form and however stored, relating to violations of: possession with intent to distribute
and distribution of controlled substances, in violation of 21 U.S.C. § 841(a)(1), conspiracy to
commit such offense, in violation of 21 U.S.C. § 846, and possession of a firearm during and in
relation to a drug trafficking offense in violation of 18 U.S.C. § 924(c)(1)(A)(collectively, the
"TARGET OFFENSES"), as described in the search warrant affidavit, including, but not limited
to:


        1.     Drugs and drug paraphernalia, and items used in the sale, transfer, transportation,
packaging of illegal narcotics substances, and also including scales, butcher paper, boots, plastic
wrap, plastic bags, tape, cigarette papers, pipes, hypodermic needles and syringes, written articles
on the use and effects of narcotics, diluents and cutting agents, which is evidence ofthe TARGET
OFFENSES.


        2.     Items used in the manufacture or cooking of heroin and cocaine, including
precursor chemicals, chemistry guides, glassware and flasks, which is evidence of the TARGET
OFFENSES.


       3.      Weapons,including but not limited to revolvers, semi-automatic pistols, rifles and
ammunition, ammunition, magazines, bulletproof vests, and firearms-related paraphernalia
including, but not limited to, gun-cleaning kits, gun-sights, holsters, receipts and documentation
for the purchased of same, and related firearm paraphernalia, which constitute tools for the
commission ofthe TARGET OFFENSES.


        4.      Documents related to or memorializing the ordering, purchasing, storage,
transportation and sale ofcontrolled substances, including U.S. currency used in the purchase and
sale of controlled substances, buyer lists, seller lists, pay-owe sheets and records of sales, log
books, drug ledgers, personal telephone/address books of customers and suppliers, rolodexes,
telephone answering pads, bank and financial records, records relating to domestic and foreign
travel such as tickets, passports, visas, credit card receipts, travel schedules, receipts and records,
trucker log books and storage records, such as storage locker receipts and safety deposit box rental
records, which is evidence ofthe TARGET OFFENSES,proceeds of the TARGET OFFENSES,
and contain evidence ofthe TARGET OFFENSES.


       5.      Books, records, receipts, notes and other papers relating to the transportation,
ordering, purchase, and distribution of controlled substances and the transportation, ordering,
purchase and transfer offirearms and ammunition,which is evidence ofthe TARGET OFFENSES.

       6.      Address and/or telephone books and papers reflecting names, addresses and/or
telephone numbers, which constitute evidence of customers, distributors, conspirators, and
potential witnesses of violations ofthe TARGET OFFENSES.


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       7.      Books, records, receipts, bank statements, money drafts, letters of credit, money
orders and cashier's checks, passbooks, bank checks, safe deposit box keys, and any other items
evidencing the obtaining, secreting, transfer, concealment, storage and/or expenditure of money,
which constitute records and proceeds ofthe TARGET OFFENSES.

       8.      United States currency, precious metals,jewelry and financial instruments, stocks
and bonds, which constitute proceeds ofthe TARGET OFFENSES.

       9.      Photographs, in particular photographs of coconspirators, assets, firearms, and
controlled substances, which constitute evidence ofthe TARGET OFFENSES.

        10.     Cellular telephones, cameras, computers, laptops, iPads, DVDs, hard drives, and
electronic store devices, and receipts reflecting their ownership and use, which contain records of
the commission ofthe TARGET OFFENSES.

       11.    Safes, both combination and key type, and their contents, which can contain
evidence ofthe commission ofthe TARGET OFFENSES or proceeds fi:om the commission ofthe
TARGET OFFENSES; and

        12.   Indicia of ownership, including, receipts, invoices, bills, canceled envelopes and
keys, which provides evidence ofidentity as to individuals committing the TARGET OFFENSES.




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